                                                      SO ORDERED.


                                                      Dated: May 19, 2022


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2
                                                      Eddward P. Ballinger Jr., Chief Bankruptcy Judge
3                                                     _________________________________

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5

6                      IN THE UNITED STATES BANKRUPTCY COURT

7                           FOR THE DISTRICT OF ARIZONA

8    In re:                          )       In Chapter 7 Proceedings
                                     )
9    HOME OPPORTUNITY, LLC;          )       Case No. 2:21-BK-04924-EPB
                                     )
10                         Debtor.   )
                                     )
11
                                     ORDER
12
                 This matter having come before the Court on the trustee's
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     Objection To Claim Nos. 7-16 And Notice Of Bar Date (Admin. Dkt. No.
14
     161); and
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                 It appearing that notice of the trustee's objection was duly
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     given to the creditor affected thereby as appears from the certificate
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     of mailing appearing therein; and
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                 The Court having reviewed the objection and finding that the
19
     relief requested is appropriate; and
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                 The Court being otherwise duly advised;
21
                 IT IS ORDERED that Claims Nos. 7, 8, 9, 10, 11, 12, 13, 14,
22
     15 and 16 shall receive no distribution from the funds held by the
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     trustee unless and until the claimant liquidates the collateral and
24
     files an unsecured deficiency claim.      The liens of the claimants shall
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     remain attached to the collateral and the liens shall not be prejudiced
26
     by this order.
27
                            DATED AND SIGNED ABOVE.
28
